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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
CAREN CARL MANDOYAN,                                                  CASE NUMBER
                                                                        2:21-cv-01230 SVW (KSx)
                                                     Plaintiff( s),
                               V.
COUNTY OF LOS ANGELES,
                                                                           NOTICE OF DISMISSAL PURSUANT
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)
                                                  Defendant(s).

PLEASE TAKE NOTICE: (Check one)

     � This action is dismissed by the Plaintiff(s) in its entirety.

     □   The Counterclaim brought by Claimant(s)                                                                          IS
         dismissed by Claimant(s) in its entirety.

     □   The Cross-Claim brought by Claimants(s)                                                                          IS
         dismissed by the Claimant(s) in its entirety.

     □   The Third-party Claim brought by Claimant(s)                                                                     IS
         dismissed by the Claimant(s) in its entirety.

     □   0NLY Defendant(s)

         is/are dismissed from (check one) □ Complaint, □ Counterclaim, □ Cross-claim, □ Third-Party Claim
         brought by ________________________________

    The dismissal is made pursuant to F.R.Civ.P. 4l(a) or (c).




     February 26, 2021
                Date                                                   Signature ofAttorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summaryjudgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial



CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
